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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

Alternative Dispute Resolution Summary
Civil Action number: = 3:18-CV-1303-K

Style of Case: Ricardo Noain, on behalf of himself and a class of those similarly
situated v. Ritran, Inc., dba International House of Pancakes

Nature of suit: FLSA
Method of ADR used: Mediation
Date of ADR session: June 4, 2019
Outcome of ADR: Settled as a result of ADR
TOTAL fee: $6,000.00
Duration of ADR: one day
Please list persons in attendance:
Kimberly S. Moore

Morgan Grob

Sebastian Cabrera

Poppy Pizzichelli

Reema Ali

Shana Khader

Aaron Johnson
Richardo Noain

Please provide the names, addresses, and telephone numbers of counsel on the reverse
side of this form.

  
 

 

 

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£ June 5, 2019
Signature | =
1717 Main Stkeet, Suite 5550, Box 39 Telephone: (214) 653-4360

Dallas, Texas 75201-4639 Facsimile: (214) 653-4343
Case 3:18-cv-01303-K

Shana Khader

Equal Justice Center

1250 W. Mockingbird Lane
Suite 455

Dallas, Texas 75247
469.228.4226

Aaron Johnson

Equal Justice Center

1250 W. Mockingbird Lane
Suite 455

Dallas, Texas 75247
469.228.4226

Kimberly S. Moore
Clark Hill Strasburger

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Name and Address of Counsel:

2600 Dallas Parkway, Suite 600

Frisco, Texas 75034
469.287.3900

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